         Case 1:19-cr-00395-BAH Document 120 Filed 08/06/21 Page 1 of 7




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :       Criminal No. 19-cr-395 (BAH)
                                             :
LARRY HARMON,                                :
                                             :
                      Defendant.             :

    GOVERNMENT’S NOTICE OF INTENT TO PRESENT EXPERT TESTIMONY

       The United States of America, by and through its counsel, the United States Attorney for

the District of Columbia, hereby provides supplemental notice of its intent to introduce expert

testimony pursuant to Fed. R. Evid. 702, 703, and 705, and Rule 16(a)(1)(G) of the Federal Rules

of Criminal Procedure.

                                       INTRODUCTION

       1.      On June 22, 2021, the government submitted a Notice of Intent to Present Expert

Testimony in the instant case. ECF 102. This notice was further supplemented on July 16, 2021.

ECF No. 109. The previous notices pertained primarily to the testimony of Ms. Alexandra Comolli

and Mr. Matthew St. Jean. The government now provides notice regarding two additional experts:

Mr. Aaron Bice and Ms. Elizabeth Bisbee.

       2.      As explained below, Mr. Bice will explain technical concepts to the jury and walk

them through code and database records found on the defendant’s devices. Much of this testimony

was previously included in the government’s notice for Mr. St. Jean’s expert testimony; the

government now anticipates the bulk of this testimony to be elicited from Mr. Bice rather than Mr.

St. Jean. Ms. Bisbee will testify regarding blockchain analysis and clustering, as previewed in the

government’s previous notice regarding Ms. Comolli’s testimony. ECF No. 102 at 4, FN 3 (“The




                                                 1
         Case 1:19-cr-00395-BAH Document 120 Filed 08/06/21 Page 2 of 7




Government may also seek to offer expert testimony regarding blockchain analysis and clustering

through a second witness from a private sector blockchain analytics firm.”). The specialized

knowledge of Ms. Bisbee and Mr. Bice will assist the jury in understanding the technical evidence.

                                            EXPERTS

       3.      A summary of Mr. Bice and Ms. Bisbee’s qualifications and expected testimony is

included below. Those qualifications, along with review and analysis of relevant reports, facts,

and evidence, set forth the bases for their testimony.

Aaron Bice
       4.      The government intends call Aaron Bice, an expert in electronic evidence review,

databases, and virtual currency. Mr. Bice is the co-founder of Excygent, LLC, which is contracted

by the Internal Revenue Service (IRS) Criminal Investigation (CI), Cyber Crime Unit (CCU) to

support high-profile and complex cybercrime and virtual currency cases. Mr. Bice’s experience

includes developing databases and building advanced analytical tools and queries, including

processes to extract information from different data sources and support data integration between

various systems and datasets. Mr. Bice frequently provides in-depth review of electronic evidence,

including search warrant returns and servers seized during law enforcement operations.

       5.      Mr. Bice also specializes in cryptocurrency and darknet investigations. He

performs blockchain analysis work and tracing of complex cryptocurrency money laundering

cases. Mr. Bice has supported numerous significant law enforcement investigations and

operations in that space, including the investigation of Helix. His work has substantially

contributed to the successful identification of multiple criminal targets and has led to the

identification and recovery of substantial cryptocurrency assets. Mr. Bice has assisted in

developing CCU’s best practices on cyber operational security and cybercrime analysis and

provides training on investigative methods and techniques.


                                                 2
         Case 1:19-cr-00395-BAH Document 120 Filed 08/06/21 Page 3 of 7




       6.      Prior to founding Excygent in 2018, Mr. Bice worked at the MITRE Corporation

for eight years, during which time he assisted with standing up CCU and served as a lead darknet

marketplace data scientist on an FBI project, among other work. Mr. Bice has extensive

experience in database forensics and data modeling. Mr. Bice’s experience and qualifications are

further detailed in a curriculum vitae which is being provided to defense counsel under separate

cover. Mr. Bice’s testimony will be based on his experience analyzing electronic evidence and

supporting darknet and cryptocurrency investigations, as well as his technical expertise related to

databases and coding.

       7.      Mr. Bice’s testimony will explain certain basic cyber concepts and terms, including

application programming interfaces (APIs), scrapers, and system back-ups. Mr. Bice is expected

to provide testimony regarding the Grams/Helix database and related code, including web server

code, found on the defendant’s electronic devices. Mr. Bice will testify regarding the database’s

structure and function and the information maintained in the various tables. He will also explain

the web server code and will explain how the database and code correspond to the activity on the

Grams/Helix site. Mr. Bice will testify regarding additional programs and code that the defendant

used to operate Helix and Grams, including phpMyAdmin, a software tool used to administer

databases. Mr. Bice is also expected to explain certain other scripts or pieces of code found on the

defendant’s devices, including APIs for a cryptocurrency exchange used by the defendant and

scripts used to retrieve information from darknet marketplaces. Mr. Bice will essentially serve as

a translator, explaining computer code, databases, metadata, or technical details to the jury.




                                                 3
         Case 1:19-cr-00395-BAH Document 120 Filed 08/06/21 Page 4 of 7




Elizabeth Bisbee

       8.      The government intends to call Ms. Elizabeth Bisbee, an expert in virtual currency

and blockchain analysis. Ms. Bisbee is the head of U.S. investigations for the blockchain analytics

company Chainalysis. Prior to joining Chainalysis in January 2021, Ms. Bisbee was the Drug

Enforcement Administration’s (DEA) national subject matter expert for virtual currency

investigations, practices, and policies. During that time, Ms. Bisbee served as the DEA’s lead

expert witness for virtual currency. Ms. Bisbee was involved in over 400 virtual currency

investigations, including work on covert operations, blockchain analysis, suspect interviews,

seizure of cryptocurrency, and trial preparation and testimony. She developed DEA’s training

curriculum related to virtual currency and blockchain analysis and has additionally taught

numerous classes on virtual currency and virtual currency investigations. Ms. Bisbee’s work has

been published in the Department of Justice Journal of Federal Law and Practice. Ms. Bisbee’s

experience and qualifications are further detailed in a curriculum vitae which is being provided to

defense counsel under separate cover. Ms. Bisbee’s testimony will be based on her experience in

virtual currency investigations and blockchain analysis and her work at Chainalysis on blockchain

analysis and clustering.

       9.      Ms. Bisbee is expected to testify regarding blockchain analysis, explaining to the

jury how law enforcement and others can trace transactions on the blockchain. Ms. Bisbee will

explain how cryptocurrency transactions are structured, and will further explain how information

from the blockchain can be used to determine “clusters” of addresses held by the same individual

or entity. Ms. Bisbee will explain how the blockchain can be coupled with other sources of

information, including undercover transactions, to determine who controls particular clusters. Ms.




                                                4
         Case 1:19-cr-00395-BAH Document 120 Filed 08/06/21 Page 5 of 7




Bisbee will explain how she performed this work at DEA and Chainalysis. Ms. Bisbee will testify

regarding the clusters associated with key darknet marketplaces, including:

                        Marketplace                         Exhibit
                 Silk Road 2.0                     Exhibit 11
                 Wall Street Market                Exhibit 13
                 Valhalla/Sikkitie                 Exhibit 15
                 Hansa Market                      Exhibit 17
                 Abraxas                           Exhibit 19
                 TradeRoute                        Exhibit 21
                 Dream Market                      Exhibit 23
                 Flugsvamp 2.0                     Exhibit 24
                 Evolution Market                  Exhibit 27
                 Russian Anonymous                 Exhibit 29
                 Marketplace (RAMP)
                 Black Bank                        Exhibit 31
                 Oasis                             Exhibit 33
                 Agora                             Exhibit 35
                 Doctor D’s                        Exhibit 37
                 Aviato                            Exhibit 39
                 Nucleus Market                    Exhibit 41
                 Middle Earth                      Exhibit 43
                 AlphaBay Market                   Exhibit 49


       10.      The Government has proposed a stipulation to defense counsel for the above

exhibits, which may obviate the need for Ms. Bisbee’s testimony.




                                               5
         Case 1:19-cr-00395-BAH Document 120 Filed 08/06/21 Page 6 of 7




                                        CONCLUSION

       The government respectfully submits that the testimony of the above experts will help the

jury understand the evidence in this case.

                                             Respectfully submitted,

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                                               6
        Case 1:19-cr-00395-BAH Document 120 Filed 08/06/21 Page 7 of 7




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                  :
                                           :
              v.                           :       Criminal No. 19-cr-395 (BAH)
                                           :
LARRY HARMON,                       :
                                           :
                     Defendant             :

                                          ORDER

       Upon consideration of the government’s Notice of Intent to Provide Expert Testimony, any

opposition thereto, and such evidence and argument as has been presented at any hearing on the

motion, it is this _____ day of __________, 2021, hereby

       ORDERED, that the motion is GRANTED.



                                    ______________________________________
                                    BERYL A. HOWELL
                                    CHIEF JUDGE
                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA




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